 Case 3:02-cr-00069        Document 691        Filed 09/10/10      Page 1 of 2 PageID #: 2477




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


RAMERE ELLIS,

               Movant,


v.                                                   CIVIL ACTION NO. 3:06-0224
                                                     (Criminal No. 3:02-00069-03)
UNITED STATES OF AMERICA,

               Respondent.


                         MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable R. Clarke VanDervort, United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that the Court dismiss Movant’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside

or Correct Sentence by Person in Federal Custody filed on March 31, 2005 (Doc. # 580) and remove

this matter from the Court’s docket. Neither party has filed objections to the Magistrate Judge’s

findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DISMISSES Movant’s Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence by Person in Federal Custody filed on March 31, 2005 (Doc. # 580) and

REMOVES this matter from the Court’s docket, consistent with the findings and recommendation.
 Case 3:02-cr-00069       Document 691        Filed 09/10/10   Page 2 of 2 PageID #: 2478




       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.




                                            ENTER:        September 10, 2010




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




                                               -2-
